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                                   STATEMENT OF FACTS

        Your affiant,                          , is a Special Agent assigned to the Oklahoma City
Division of the Federal Bureau of Investigation. In my duties as a Special Agent, I have
investigated numerous criminal and national security violations falling within the FBI’s
jurisdiction. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                              FACTS SPECIFIC TO TRICIA LACOUNT

       I have studied video footage and still photographs of the January 6, 2021, incursion of the
U.S. Capitol, and I have identified an individual there as TRICIA LACOUNT (LACOUNT), of
Tulsa, Oklahoma, for the reasons described herein. As also described herein, the images and video
footage that I have reviewed, as well as the other facts gathered in this investigation, establish that
LACOUNT did unlawfully enter the U.S. Capitol on January 6, 2021.

      On or about January 8, 2021, Witness 1 submitted an online tip to the FBI regarding
LACOUNT and others. Witness 1 has known LACOUNT for approximately 15 years. Although
Witness 1 has met LACOUNT in person, Witness 1 reported that their relationship is mostly being
Facebook friends. Witness 1 submitted Image 1 below and indicated it was taken from
LACOUNT’s Facebook.




                                               Image 1

        Image 1 shows that Facebook user Tricia LaCount recorded a live video which was posted
on the user’s Facebook account. The user also posted they are “Walking to the Ellipse for the
rally!” LACOUNT appears to be the person recording the video and does not appear in Image 1.
Image 1 also shows that user “Tricia LaCount” tagged Facebook User “                  ” in the

                                                  2
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warrant which was served on VERIZON, on January 6, 2021, in and around the time of the
incident, the cellphone associated with that number was identified as having utilized a cell site
consistent with providing service to a geographic area that included the interior of the United States
Capitol building.

      According to the aforementioned search warrant returns, that phone number ending in 2909
made an outgoing phone call at 19:37:00 UTC, or 2:37 p.m. Washington D.C. time.

         Law enforcement officers reviewed surveillance video from cameras mounted within the
U.S. Capitol building and observed LACOUNT in the U.S. Capitol Building. At approximately
19:37:05 UTC on January 6, 2021, surveillance video shows LACOUNT entering the Rotunda of
the U.S. Capitol holding what appears to be a cellular telephone to her right ear. Image 3 below
is a screenshot from that surveillance footage.




                                              Image 3

        On January 18, 2023, legal process was served to Meta Platforms, Inc., for records
pertaining to Facebook user Tricia LaCount (ID ending in           ). Records provided by Meta
Platforms, Inc., revealed a conversation between user Tricia LaCount and other Facebook users
during which user Tricia LaCount sent a video appearing to have been taken inside the U.S. Capitol
on January 6, 2021. A member of the conversation responded by asking, “You got in the Capitol?!”
Facebook user Tricia LaCount then responds, “Absolutely!” and proceeded to send a second video
appearing to have been taken inside the U.S. Capitol on January 6, 2021.



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      In the same conversation thread, user Tricia LaCount stated “Pelosi’s office is so gaudy....
massive chandelier, beautiful fireplace… MSNBC live was on every laptop.” I assess user Tricia
LaCount to be referring to former Speaker of the House Nancy Pelosi.

        Video footage obtained by the FBI shows LACOUNT inside of the office for the Speaker
of the House Nancy Pelosi as shown in Image 4 below.




                                                Image 4

       Closed circuit surveillance video from cameras mounted within the U.S. Capitol building
shows LACOUNT leaving the office of the Speaker of the House at approximately 2:34 p.m., as
shown in Image 5 below.




                                                Image 5

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       In total, closed circuit surveillance video depicts LACOUNT inside the Capitol for
approximately an hour and 15 minutes. Video depicts LACOUNT entering the Capitol through
the Senate Wing Door at approximately 2:16 p.m., as shown below in Image 6. This entry was
approximately three minutes after the initial breach of that door.




                                                  Image 6

      In addition to the Office of the Speaker, video shows LACOUNT traveled to the Crypt,
Rotunda, and Statuary Hall before exiting the Capitol at approximately 3:30 p.m.

         Based on the foregoing, I submit that there is probable cause to believe that TRICIA
LACOUNT violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        I submit there is also probable cause to believe that TRICIA LACOUNT violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that



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building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                    Special Agent
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 11th day of April 2023.
                                                     Moxila A. Digitally    signed by
                                                                   Moxila A. Upadhyaya

                                                     Upadhyaya     Date: 2023.04.11
                                                    ___________________________________
                                                                   10:26:22 -04'00'
                                                    MOXILA A. UPADHYAYA
                                                    U.S. MAGISTRATE JUDGE




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